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                          UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEVADA


UNITED STATES OF AMERICA
                                                   JUDGMENT
                        Plaintiff,
       v.                                          Case Number: 2:08-cr-00064-JCM-GWF
                                                       5HODWHGFDVH 2:18-cv-01887-JCM
EVE MAZZARELLA

                        Defendant.


       Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
       the jury has rendered its verdict.

       Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
       or heard and a decision has been rendered.

       Decision by Court. This action came for consideration before the Court. The issues have been
       considered and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED
pursuant to the Court's Order Denying as Moot the Motion to vacate under 28 U.S.C. 2255, this matter is
closed. Judgment for the United States.




       10/21/2020
       ____________________                                 DEBRA K. KEMPI
       Date                                                Clerk



                                                             /s/ D. Reich-Smith
                                                           Deputy Clerk
